Case 1:18-cr-00280-GLR Document 64 Filed 02/19/19 Page 1 of 10

U.S. Department of Justice

United States Attorney

 

 

District of Maryland

Suite 400 DIRECT: 410-209-4974

36 S. Charles Street MAIN: 410-209-4800
FAX: 410-962-2310

Jason D. Medinger
Assistant United States Attorney

Jason, Medinger@usdoj gov

Baltimore, MD 21201-3119

January 4, 2019
Teresa Whalen 2 ~ &

Law Office of Teresa Whalen fone & a=

801 Wayne Avenue, Suite 400 ~im om So
Silver Spring, MD 20910 pe Fy,
28 wo SE
Re: United States v. Narada Walls, t x St ae) = ar

Criminal No. GLR-18-280 (D. Md.) Oo mn = 22

a’ . - m &
, = cn 5S
< on sg _

Dear Counsel:

This letter, together with the Sealed Supplement, confirms the plea agreement (this
“A sreement”) that has been offered to your client, Narada Walls (hereinafter “Defendant”), by the
United States Attomey’s Office for the District of Maryland (“this Office”). If the Defendant
accepts this offer, please have the Defendant execute it in the spaces provided below. If this offer
has not been accepted by January 30, 2019, it will be deemed withdrawn. The terms of the

Agreement are as follows:
Offense of Conviction

I. The Defendant agrees to plead guilty to Count 1 of the Superseding Indictment, which
charges the Defendant with Conspiracy To Distribute And Possess With Intent To Distribute
Controlled Substances, in violation of 21 U.S.C. § 846. The Defendant admits that the Defendant
is, in fact, guilty of the offense and will so advise the Court. But, the Defendant only agrees to
plead guilty to the lesser-included offense in such count of conspiracy to distribute and possess
with intent to distribute controlled substances; the Defendant does not agree to plead guilty to the

enhanced statutory penalty arising from a death resulting from the commission of the crime.
Elements of the Offense(s)

2. The elements of the offense to which the Defendant has agreed to plead guilty, and which
this Office would prove if the case went to trial, are as follows: That on or about the time alleged

in the Indictment, in the District of Maryland,

a. An agreement to distribute and possess with intent to distribute fentanyl and
methoxyacetyl fentanyl existed between two or more persons;

1
Case 1:18-cr-00280-GLR Document 64 Filed 02/19/19 Page 2 of 10
b. The Defendant knew of the conspiracy; and

c. The Defendant knowingly and voluntarily became a part of the conspiracy.

 

 

 

 

 

 

 

 

 

 

 

Penalties
3. The maximum penalties provided by statute for the offense to which the Defendant is
pleading guilty are as follows:

COUNT | STATUTE | MAND. MIN. MAX MAX MAX FINE | SPECIAL
IMPRISON- | IMPRISON- | SUPERVISED ASSESS-

MENT MENT RELEASE MENT

1 2tUS.C. N/A 20 years | 3 years(Mand. |$Imillion | $100
§ 846 Min. 3 years}
a. Prison: lf the Court orders a term of imprisonment, the Bureau of Prisons has sole

discretion to designate the institution at which it will be served.

b. Supervised Release: If the Court orders a term of supervised release, and the
Defendant violates the conditions of supervised release, the Court may order the Defendant
returned to custody to serve a term of imprisonment up to the entire original term of supervised
release if permitted by statute, followed by an additional term of supervised release.

c. Restitution: The Court may order the Defendant to pay restitution pursuant to 18
US.C. §§ 3663, 3663A, and 3664.

d. Payment: Ifa fine or restitution is imposed, it shall be payable immediately, unless
the Court orders otherwise under 18 U.S.C. § 3572(d). The Defendant may be required to pay
interest if the fine is not paid when due.

e: Forfeiture: The Court may enter an order of forfeiture of assets directly traceable
to the offense, substitute assets, and/or 2 money judgment equal to the value of the property subject
to forfeiture.

f. Collection of Debts: If the Court imposes a fine or restitution, this Office’s
Financial Litigation Unit will be responsible for collecting the debt. If the Court establishes a
schedule of payments, the Defendant agrees that: (1) the full amount of the fine or restitution is
nonetheless due and owing immediately; (2) the schedule of payments is merely a minimum
schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ all powers to
collect on the total amount of the debt as provided by law. Until the debt is paid, the Defendant
agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control. Until the money judgment is satisfied, the Defendant
authorizes this Office to obtain a credit report in order to evaluate the Defendant’s ability to pay,
and to request and review the Defendant’s federal and state income tax returns. The Defendant
agrees to complete and sign a copy of IRS Form ‘8821 (relating to the voluntary disclosure of
federal tax return information) and a financial statement in a form provided by this Office.

2
Case 1:18-cr-00280-GLR Document 64 Filed 02/19/19 Page 3 of 10

Waiver of Rights

4. The Defendant understands that by entering into this Agreement, the Defendant surrenders
certain rights as outlined below:

a. If the Defendant had pled not guilty and persisted in that plea, the Defendant
would have had the right to a speedy jury trial with the close assistance of competent counsel.
That trial could be conducted by a judge, without a jury, if the Defendant, this Office, and the
Court all agreed.

b. If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
would have to agree unanimously before the Defendant could be found guilty of any count. The
jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

c, If the Defendant went to trial, the government would have the burden of proving
the Defendant guilty beyond a reasonable doubt. The Defendant would have the nght to confront
and cross-examine the government's witnesses. The Defendant would not have to present any
defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses in defense,
however, the Defendant would have the subpoena power of the Court to compel the witnesses to
attend.

d. The Defendant would have the right to testify in the Defendant’s own defense if
the Defendant so chose, and the Defendant would have the right to refuse to testify. If the
Defendant chose not to testify, the Court could instruct the jury that they could not draw any
adverse inference from the Defendant’s decision not to testify.

e. If the Defendant were found guilty after a trial, the Defendant would have the right
to appeal the verdict and the Court’s pretrial and trial decisions on the admissibility of evidence to
see if any errors were committed which would require a new trial or dismissal of the charges. By
pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and the Court’s
decisions.

f. By pleading guilty, the Defendant will be giving up all of these rights, except the
right, under the limited circumstances set forth in the “Waiver of Appeal” paragraph below, to
appeal the sentence. By pleading guilty, the Defendant understands that the Defendant may have
to answer the Court’s questions both about the rights being given up and about the facts of the
case. Any statements that the Defendant makes during such a hearing would not be admissible
against the Defendant during a trial except in a criminal proceeding for perjury or false statement.

g. If the Court accepts the Defendant’s plea of guilty, the Defendant will be giving up
the right to file and have the Court rule on pretrial motions, and there will be no further trial or
proceeding of any kind in the above-referenced criminal case, and the Court will find the
Defendant guilty.
Case 1:18-cr-00280-GLR Document 64 Filed 02/19/19 Page 4 of 10

h. By pleading guilty, the Defendant will also be giving up certain valuable civil

Tights and may be subject to deportation or other loss of immigration status, including possible
denaturalization. The Defendant recognizes that if the Defendant is not a citizen of the United
States, or is a naturalized citizen, pleading guilty may have consequences with respect to the
Defendant’s immigration status. Under federal law, conviction for a broad range of crimes can
lead to adverse immigration consequences, including automatic removal from the United States.
Removal and other immigration consequences are the subject of a separate proceeding, however,
and the Defendant understands that no one, including the Defendant’s attomey or the Court, can
predict with certainty the effect of a conviction on immigration status. The Defendant is not
relying on any promise or belief about the immigration consequences of pleading guilty. The
Defendant nevertheless affirms that the Defendant wants to plead guilty regardless of any potential
immigration consequences.

Advisory Sentencing Guidelines Apply

5. The Defendant understands that the Court will determine a sentencing guidelines range for
this case (henceforth the “advisory guidelines range”) pursuant to the Sentencing Reform Act of
1984 at 18 U.S.C. § 3551-3742 (excepting 18 U.S.C. § 3553(b)(1) and 3742(e)) and 28 U.S.C.
§§ 991 through 998. The Defendant further understands that the Court will impose a sentence
pursuant to the Sentencing Reform Act, as excised, and must take into account the advisory
guidelines range in establishing a reasonable sentence.

al dvis ideli tipulation

6. a. This Office and the Defendant stipulate and agree to the Statement of Facts set forth
in Attachment A, which is incorporated by reference herein. This Office states, and the Defendant
will not dispute, that the applicable base offense level is a Level 38 pursuant to United States
Sentencing Guidelines (“U.S.S.G.”) § 2D1.1(a)(2) because the Defendant is convicted under 21
U.S.C. § 841(b)(1) and death or serious bodily injury resulted from the use of the substances the
Defendant distributed.

db. This Office does not oppose a two-level reduction in the Defendant’s adjusted
offense level pursuant to U.S.S.G. § 3E1.1(a), based upon the Defendant’s apparent prompt
recognition and affirmative acceptance of personal responsibility for the Defendant's criminal
conduct. This Office agrees to make a motion pursuant to U.S.S.G. § 3E1.1(b) for an additional
one-level decrease in recognition of the Defendant's acceptance of personal responsibility for the
Defendant’s conduct. This Office may oppose any adjustment for acceptance of responsibility
under U.S.S.G. § 3E1.1(a) and may decline to make a motion pursuant to U.S.S.G. § 3E1.1(b), if
the Defendant: (i} fails to admit each and every item in the factual stipulation; (ii) denies
involvement in the offense; {iii} gives conflicting statements about the Defendant’s involvement
in the offense; (iv) is untruthful with the Court, this Office, or the United States Probation Office;
(v) obstructs or attempts to obstruct justice prior to sentencing; (vi) engages in any criminal
conduct between the date of this Agreement and the date of sentencing; (vii) attempts to withdraw
the plea of guilty; or (viii) violates this Agreement in any way.
Case 1:18-cr-00280-GLR Document 64 Filed 02/19/19 Page 5 of 10

7. There is no agreement as to the Defendant’s criminal history and the Defendant
understands that the Defendant’s criminal history could alter the Defendant's offense level.
Specifically, the Defendant understands that the Defendant’s criminal history could alter the final
offense level if the Defendant is determined to be a career offender or if the instant offense was a
part of a pattern of criminal conduct from which the Defendant derived a substantial portion of the
Defendant’s income.

8. Other than as set forth above, no other offense characteristics, sentencing guidelines
factors, potential departures or adjustments set forth in the United States Sentencing Guidelines
are in dispute or will be raised in calculating the advisory guidelines range.

Rule il(cxi Plea

9. The parties stipulate and agree pursuant to Federal Rule of Criminal Procedure 1 {c}(1)(C}
that a sentence of 12 years of imprisonment in the custody of the Bureau of Prisons is the
appropriate disposition of this case taking into consideration the nature and circumstances of the
offense, the Defendant’s criminal history, and all of the other factors set forth in 18 U.S.C. §
3553(a). This Agreement does not affect the Court’s discretion to impose any lawful term of
supervised release or fine or to set any lawful conditions of probation or supervised release. In the
event that the Court rejects this Agreement, except under the circumstances noted below, either
party may elect to declare the Agreement nul! and void. Should the Defendant so elect, the
Defendant will be afforded the opportunity to withdraw his plea pursuant to the provisions of
Federal Rule of Criminal Procedure 11{c)(5). The parties agree that if the Court finds that the
Defendant engaged in obstructive or unlawful behavior and/or failed to acknowledge personal
responsibility as set forth herein, neither the Court nor the Government will be bound by the
specific sentence contained in this Agreement, and the Defendant will not be able to withdraw his
plea.

igati f

10. At the time of sentencing, this Office and the Defendant will recommend a sentence of 12
years of imprisonment. The parties reserve the right to advocate for a reasonable period of
supervised release and/or fine considering any appropriate factors under 18 U.S.C. § 3553(a). The
parties reserve the right to bring to the Court’s attention all information with respect to the
Defendant’s background, character, and conduct that each party deems relevant to sentencing,
including the conduct that is the subject of any counts of the Superseding Indictment. At the time
of sentencing, this Office will move to dismiss any open counts against the Defendant.

Waiver of Appeal

11. In exchange for the concessions made by this Office and the Defendant in this Agreement,
this Office and the Defendant waive their rights to appeal as follows:

a. The Defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291 or any
other statute or constitutional provision, to appeal the Defendant’s conviction on any ground
whatsoever. This includes a waiver of all right to appeal the Defendant’s conviction on the ground
that the statute to which the Defendant is pleading guilty is unconstitutional, or on the ground that
the admitted conduct does not fall within the scope of the statute, to the extent these can be waived.

5
Case 1:18-cr-00280-GLR Document 64 Filed 02/19/19 Page 6 of 10

b. The Defendant and this Office knowingly and expressly waive all rights conferred
by 18 U.S.C. § 3742 to appeal whatever sentence is imposed (including any term of imprisonment,
fine, term of supervised release, or order of restitution) for any reason (including the establishment
of the advisory sentencing guidelines range, the determination of the Defendant’s criminal history,
the weighing of the sentencing factors, and any constitutional challenges to the calculation and
imposition of any term of imprisonment, fine, order of forfeiture, order of restitution, and term or
condition of supervised release), except as follows:

ij) The Defendant reserves the right to appeal any sentence that exceeds 12
years’ imprisonment; and

(ii) This Office reserves the right to appeal any sentence below 12 years’
imprisonment.

c. The Defendant waives any and all rights under the Freedom of Information Act
relating to the investigation and prosecution of the above-captioned matter and agrees not to file
any request for documents from this Office or any investigating agency.

Forfeiture

12. a. The Defendant understands that the Court may enter an Order of Forfeiture as part
of the Defendant’s sentence, and that the Order of Forfeiture may include assets directly traceable
to the offense(s), substitute assets, and/or a money judgment equal to the value of the property
derived from, or otherwise involved in, the offenses.

b, Specifically, but without limitation on the government’s right to forfeit all property
subject to forfeiture as permitted by law, the Defendant agrees to forfeit to the United States all of
the Defendant’s right, title, and interest in the following items that the Defendant agrees constitute
money, property, and/or assets derived from or obtained by the Defendant as a result of, or used
to facilitate the commission of, the Defendant’s illegal activities: all items of value seized during
the execution of a search warrant on the Defendant's residence and his vehicle, except where
otherwise retumed to the Defendant by law enforcement. This includes specifically the $18,650
in currency seized from his residence in December 2017, and the $11,000 in currency seized from
his vehicle in June 2017.

c. The Defendant agrees to consent to the entry of orders of forfeiture for the property
described in the two above subparagraphs and waives the requirements of Federal Rules of
Criminal Procedure 11(b)(1)(J), 32.2 and 43(a) regarding notice of the forfeiture in the charging
instrument, advice regarding the forfeiture at the change-of-plea hearing, announcement of the
forfeiture at sentencing, and incorporation of the forfeiture in the judgment.

d. The Defendant agrees to assist fully in the forfeiture of the above property. The
Defendant agrees to disclose all assets and sources of income, to consent to all requests for access
to information related to assets and income, and to take all steps necessary to pass clear title to the
forfeited assets to the United States, including executing all documents necessary to transfer such
title, assisting in bringing any assets located outside of the United States within the jurisdiction of

6
Case 1:18-cr-00280-GLR Document 64 Filed 02/19/19 Page 7 of 10

the United States, and taking whatever steps are necessary to ensure that assets subject to forfeiture
are made available for forfeiture.

é. The Defendant waives all challenges to any forfeiture carried out in accordance
with this Agreement on any grounds, including any and all constitutional, legal, equitable,
statutory, or administrative grounds brought by any means, including through direct appeal, habeas
corpus petition, or civil complaint. The Defendant will not challenge or seek review of any civil
or administrative forfeiture of any property subject to forfeiture under this Agreement, and wilt
not assist any third party with any challenge or review or any petition for remission of forfeiture.

Defendant’s Conduct Prior to Sentencing and Breach

3. a Between now and the date of the sentencing, the Defendant will not engage in
conduct that constitutes obstruction of justice under U.S.S.G. § 3C1.1; will not violate any federal,
state, or local law; will acknowledge guilt to the probation officer and the Court; will be truthful
in any statement to the Court, this Office, law enforcement agents, and probation officers; will
cooperate in the preparation of the presentence report; and will not move to withdraw from the
plea of guilty or from this Agreement.

b. If the Defendant engages in conduct prior to sentencing that violates the above
paragraph of this Agreement, and the Court finds a violation by a preponderance of the evidence,
then: (i) this Office will be free from its obligations under this Agreement; (ii) this Office may
make sentencing arguments and recommendations different from those set out in this Agreement,
even if the Agreement was reached pursuant to Rule 1 1(¢)(1)(C); and (iii) in any criminal or civil
proceeding, this Office will be free to use against the Defendant all statements made by the
Defendant and any of the information or materials provided by the Defendant, including
statements, information, and materials provided pursuant to this Agreement, and statements made
during proceedings before the Court pursuant to Rule 11 of the Federal Rules of Criminal
Procedure. A determination that this Office is released from its obligations under this Agreement
will not permit the Defendant to withdraw the guilty plea. The Defendant acknowledges that the
Defendant may not withdraw the Defendant's guilty plea—even if made pursuant to Rule
11(c)(1}(C}—f the Court finds that the Defendant breached the Agreement. In that event, neither
the Court nor the Government will be bound by the specific sentence or sentencing range agreed
and stipulated to herein pursuant to Rule 11(c)(1)(C).

Court Not a Party

14. The Court is not a party to this Agreement. The sentence to be imposed is within the sole
discretion of the Court. The Court is not bound by the Sentencing Guidelines stipulation in this
Agreement. The Court will determine the facts relevant to sentencing. The Court is not required
to accept any recommendation or stipulation of the parties. Neither the prosecutor, defense
counsel, nor the Court can make a binding prediction, promise, or representation as to what
guidelines range or sentence the Defendant will receive. The Defendant agrees that no one has
made such a binding prediction or promise. However, as detailed above, if the Court rejects the
recommendation of the parties under Rule 11{c), the Defendant and this Office may resort to the
remedies outlined in Paragraph 9 of this Agreement.
Case 1:18-cr-00280-GLR Document 64 Filed 02/19/19 Page 8 of 10 .
Entire Agreement

15. This letter, together with the Sealed Supplement, constitutes the complete plea agreement
in this case. This letter, together with the Sealed Supplement, supersedes any prior understandings,
promises, or conditions between this Office and the Defendant. There are no other agreements,
promises, undertakings, or understandings between the Defendant and this Office other than those
set forth in this letter and the Sealed Supplement. No changes to this Agreement will be effective
unless in writing, signed by all parties and approved by the Court.

If the Defendant fully accepts each and every term and condition of this Agreement, please
sign and have the Defendant sign the original and return it to me promptly.

. Very truly yours,

Robert K. Hur
United States Attorney

    
  
  

By: /s/
Jason D. M¢dinger
Burden Walker

Assistant United States Attorneys

l have read this Agreement, including the Sealed Supplement, and carefully reviewed every
part of it with my attorney. I understand it and I voluntarily agree to it. Specifically, I have
reviewed the Factual and Advisory Guidelines Stipulation with my attorney and I do not wish to
change any part of it. I am completely satisfied with the representation of my attorney.

2-6-15 2

Narada Walls

I am the Defendant’s attomey. I have carefully reviewed every part of this Agreement,
including the Sealed Supplement with the Defendant. The Defendant advises me that the
Defendant understands and accepts its terms. To my knowledge, the Defendant’s decision to enter
into this Agreement is an informed and voluntary one.

Ash eK

Teresa Whalen, Esq.

 
Case 1:18-cr-00280-GLR Document 64 Filed 02/19/19 Page 9 of 10

ATTACHMENT A
STIPULATION OF FACTS

The undersigned parties stipulate and agree that if this case had proceeded to trial, this
Office would have proven the following facts beyond a reasonable doubt. The undersigned parties
also stipulate and agree that the following facts do not encompass all of the evidence that would
have been presented had this matter proceeded to tnal.

In fall 2017, law enforcement began an investigation into a drug trafficking organization
operating on the Eastern Shore of Maryland and in Baltimore, Maryland which was responsible
for importing and distributing fentanyl and fentanyl analogue substances. This investigation
revealed that the Defendant, Narada Walls, conspired with others to possess with intent to
distribute fentanyl and fentanyl analogue substances.

Specifically, in September 2017, law enforcement, through a confidential source (“CI-I")
made controlled calls to the Defendant asking about the availability of drugs. During one such
call, Cl-1 asked to purchase from the Defendant a tester quantity of 10 grams of “fetti” or “fit,”
which referred to the fentanyl and fentanyl analogue product the Defendant was selling.
Arrangements were made to conduct the sale in the Baltimore area. On the agreed-upon date, the
Defendant drove from the Eastern Shore of Maryland to a shopping mall in the Baltimore area, at
which time the Defendant sold CI-1 approximately 10 grams of “fetti”/‘fit.” Lab analysis
showed this product was methoxyacetyl fentanyl which, at the time, was a fentanyl analogue. In
November 2017, the Defendant soid CI-1 an additional 50 grams of methoxyacety] fentanyl
which, at the time, was a Schedule I controlled substance. During their interactions, the
Defendant discussed with CI-1 the potency of this product and how it needed to be diluted with
cutting agents or offered only to experienced drug users, or else overdoses could occur.

The Defendant obtained the methoxyacetyl fentanyl from China. Specifically, the
Defendant registered and used the email address slfjuicejunkie(@smail.com and used the aliases
of Mike Watson and Katherine Carey. Posing as these individuals, the Defendant used this email
address to purchase direct from China 200- and 300-gram quantities of methoxyacety! fentany!.
He had this product shipped to addresses of acquaintances of his along the Easter Shore of
Maryland to distance himself from the packages. The Defendant imported more than 1.5
kilograms of methoxyacetyl fentanyl in this manner. At all times relevant to the Superseding
Indictment, the Defendant knew the products he was buying from China were either controlled
substances or analogues to controlled substances, and hence illegal to import, possess, and/or
distribute.

In December 2017, law enforcement executed a search warrant at the residence of the
Defendant at 808 N. Division Street, Salisbury, Maryland. Inside the residence, law enforcement
found a safe which belonged to the Defendant. Inside the safe was approximately 419 grams of
methoxyacety! fentanyl which belonged to the Defendant. Also found in the safe was
approximately $18,650 which constituted drug proceeds traceable to the Defendant. Also
recovered from the Defendant’s bedroom was approximately 80 grams of marijuana and other
drug-related paraphernalia, including a biender, a digital scale, and packaging materials.

9
Case 1:18-cr-00280-GLR Document 64 Filed 02/19/19 Page 10 of 10

In June 2017, the Defendant was in a relationship with Stacy Lynn Figgs who was a
recovering heroin user. A government witness would testify that on June 14, 2017, the
Defendant asked Ms. Figgs to clean up the kitchen. This witness knew the Defendant used a
blender in the processing of his fentanyl and fentanyl analogue product. This witness understood
the Defendant to be referring to the “kitchen” as the area where the Defendant mixed his drug
product. In the process of cleaning up the blender in the kitchen, Figgs ingested some of this
fentanyl analogue product. At approximately 6:15 pm, the Defendant found Ms. Figgs on the
kitchen floor; called a 911 operator; and performed CPR until paramedics arrived who later
pronounced her dead. An autopsy determined Ms. Figgs’ death was caused by her exposure to
this fentanyl analogue product.

The parties stipulate that during the conspiracy, more than | kilogram of fentanyl
analogue substances but less than 3 kilograms of fentanyl analogue substances were reasonably
attributable to the Defendant and possessed by him in furtherance of this conspiracy.

SO STIPULATED:

    

Jasoy 1}. Medinger
Burden Walker
Assistant United States Attomeys

Narada Walls
Defendant

Teresa Whalen, Esq.
Counsel for Defendant

 

10
